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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
          v.                                   :       Criminal No. 21-cr-175-5 (TJK)
                                               :
ENRIQUE TARRIO,                                :
                                               :
                         Defendant.            :

                    GOVERNMENT’S NOTICE OF SENTENCING EXHIBITS

          The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, respectfully files the attached exhibits for the Court’s consideration at

sentencing. 1 The exhibits are cited in its individual sentencing memorandum, specifically 855-1,

Enrique Tarrio Additional Sentencing Arguments.        In addition to the documents attached hereto,

the government notifies the Court and counsel that it is submitting video exhibits and one large

PDF to the Court via USAfx. The chart below summarizes the proffered exhibits.                       The

government does not have any objection to the public dissemination of any of the video exhibits

summarized below.

    Exhibit Name                   Format          Description
    Tarrio Exhibit 1               PDF             Tarrio Parler post: fireworks
    Tarrio Exhibit 2               PDF             Tarrio Parler post “Come get me”
    Tarrio Exhibit 3               PDF             Tarrio Parler post; “DAMN PROUD”
    Tarrio Exhibit 4               PDF             Tarrio Parler post: “pass me the lighter”
    Tarrio Exhibit 5               PDF             Transcript of Tarrio sentencing for test strips
    Tarrio Exhibit 6               PDF             Transcript of Tarrio sentencing for banner
    Tarrio Exhibit 7               Large PDF       Transcript of Tarrio House deposition
    Tarrio Exhibit 8               PDF             Tarrio chat with Proud Boys founder
    Tarrio Exhibit 9               PDF             Tarrio Parler post: orange hats
    Tarrio Exhibit 10              PDF             Proud Boys group photo
    Tarrio Exhibit 11              Video           Clip from “War Boys” show
    Tarrio Exhibit 12              Video           Tarrio pre-verdict jail interview
    Tarrio Exhibit 13              Audio           Tarrio “staying put” message

1
  The government is not re-submitting herewith any of the exhibits that were previously admitted
at trial. We will provide copies of any such exhibit to the Court and counsel upon request.
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                            Respectfully Submitted,


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